         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 1 of 45




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------- x
                                     :
 UNITED STATES OF AMERICA            :
                                     :
           - v. -                    :
                                     :                 20 Cr. 412 (AT)
 BRIAN KOLFAGE,                      :
 ANDREW BADOLATO, and                :
 TIMOTHY SHEA,                       :
                                     :
                  Defendants.        :
 ---------------------------------- x

 ----------------------------------- x
                                     :
 UNITED STATES OF AMERICA            :
                                     :
           - v. -                    :
                                     :                 22 Cr. 201 (AT)
 BRIAN KOLFAGE,                      :
                                     :
                  Defendant.         :
 ---------------------------------- x




                  THE GOVERNMENT’S SENTENCING SUBMISSION




                                     DAMIAN WILLIAMS
                                     United States Attorney
                                     Southern District of New York
                                     One St. Andrew’s Plaza
                                     New York, New York 10007

Mollie Bracewell
Nicolas Roos
Robert B. Sobelman
Derek Wikstrom
Assistant United States Attorneys
    – Of Counsel –
             Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 2 of 45




                                                     TABLE OF CONTENTS


PRELIMINARY STATEMENT .................................................................................................... 1
BACKGROUND ............................................................................................................................ 2
       A. The We Build the Wall Fraud Scheme .............................................................................. 2
       B. The Defendants’ Convictions and Guidelines Calculations ............................................... 7
          1. Kolfage’s Guilty Pleas and Guidelines Range ................................................................ 7
          2. Badolato’s Guilty Plea and Guidelines Range ................................................................ 9
          3. Shea’s Trial Convictions and Guidelines Range ............................................................ 9
ARGUMENT ................................................................................................................................ 12
   I. The Appropriate Sentences.................................................................................................... 12
       A. Applicable Law ................................................................................................................ 12
       B. Kolfage ............................................................................................................................. 13
          1. Kolfage Should Be Sentenced to 51 Months’ Imprisonment ....................................... 13
          2. Kolfage’s Request for a Sentence of Home Confinement Should Be Rejected ........... 25
          3. The Court Should Impose a Fine .................................................................................. 31
       C. Badolato ........................................................................................................................... 31
          1. Badolato Should Be Sentenced to 41 Months’ Imprisonment ...................................... 31
       D. Shea .................................................................................................................................. 35
          1. The Applicable Guidelines Range is 108 to 135 Months’ Imprisonment .................... 35
          2. Shea Should Be Sentenced to 63 Months’ Imprisonment ............................................ 37
CONCLUSION ............................................................................................................................. 43




                                                                         i
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 3 of 45




                                PRELIMINARY STATEMENT

       The Government respectfully submits this memorandum in advance of the sentencing of

defendants Brian Kolfage, Andrew Badolato, and Timothy Shea, and in response to their

respective sentencing submissions filed on April 12, 2023. Kolfage and Badolato pled guilty, and

Shea was convicted after trial, for their participation in a scheme to defraud hundreds of thousands

of donors to an online crowdfunding campaign known as “We Build the Wall” (“WBTW”).

       Kolfage pled guilty on April 21, 2022, to one count of wire fraud conspiracy, in violation

of 18 U.S.C. § 1349. In a separate case, pursuant to Federal Rule of Criminal Procedure 20,

Kolfage also pled guilty to two counts of making false statements on tax returns, in violation of 26

U.S.C. § 7206(1) and 18 U.S.C. § 2, and an additional count of wire fraud, in violation of 18 U.S.C.

§§ 1343 and 2, with which he had been charged in the Northern District of Florida. The United

States Probation Office (the “Probation Office”) has calculated a range under the United States

Sentencing Guidelines (“U.S.S.G.” or the “Guidelines”) of 51 to 63 months’ imprisonment.

       Badolato pled guilty on April 21, 2022, to one count of wire fraud conspiracy, in violation

of 18 U.S.C. § 1349. The Probation Office has calculated an applicable Guidelines range of 41 to

51 months’ imprisonment.

       Shea was convicted on October 28, 2022, after a one-week jury trial, of three counts: wire

fraud conspiracy in violation of 18 U.S.C. § 1349, money laundering conspiracy in violation of 18

U.S.C. § 1956(h), and falsifying records in violation of 18 U.S.C. §§ 1519 and 2. The Probation

Office has calculated an applicable Guidelines range of 108 to 135 months’ imprisonment.

       For the reasons explained below, sentences of 51 months’ imprisonment for Kolfage,

41 months’ imprisonment for Badolato, and 63 months’ imprisonment for Shea, would each be

sufficient but not greater than necessary to achieve the purposes of sentencing in this case.
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 4 of 45




                                         BACKGROUND

    A. The We Build the Wall Fraud Scheme

       In December 2018, Brian Kolfage and Timothy Shea hatched a plan: they decided to

fundraise, nominally to build a wall on the southern border of the United States, in a scheme to

make money for themselves. In mid-December, Kolfage texted Shea and his wife, Amanda Shea,

“Let’s create a gofundme to pay for the trump wall…And if trump doesn’t take the money then

we donate it to our organization.” Shea almost immediately replied “Lol!!! That’s so perfect!” He

then explained to his wife, in the same text chain, “Amanda- trump can’t take the money…so we

could transfer it.” (GX 1). 1 Less than a week later, they had created a GoFundMe page, “We The

People Will Fund The Wall.” (GX 301).

       The GoFundMe page was an immediate success. Less than a month after it launched, the

page had raised almost $20 million from hundreds of thousands of donors all across the country.

(See, e.g., Kolfage PSR ¶¶ 17-19; Tr. 74; GX 313). Thousands of the people who donated did so

from the Southern District of New York. (GX 312). And by mid-2019, WBTW’s GoFundMe

campaign would be “the largest GoFundMe in the company’s history.” (Tr. 94).

       But Kolfage and Shea’s crowdfunding page also faced almost immediate difficulties.

Within weeks, GoFundMe suspended the campaign because—as Kolfage and Shea knew and



1
  “Kolfage PSR” refers to the Presentence Investigation Report for Brian Kolfage, revised April 3,
2023; “Badolato PSR” refers to the Presentence Investigation Report for Andrew Badolato, revised
April 3 2023; “Shea PSR” refers to the Presentence Investigation Report for Timothy Shea, revised
April 3, 2023; “Dkt.” refers to entries on the Court’s docket in case number 20 Cr. 412; “Tr.” refers
to the transcript of the October 2022 Shea trial; “GX” refers to Government Exhibits received in
evidence at the October 2022 Shea trial; “Kolfage Ltr.” refers to Kolfage’s sentencing letter dated
April 12, 2023 (Dkt. 373); “Badolato Mem.” refers to Badolato’s sentencing memorandum dated
April 12, 2023 (Dkt. 379 (redacted version, as corrected)); and “Shea Mem.” refers to Shea’s
sentencing memorandum dated April 12, 2023 (Dkt. 372). Unless otherwise noted, case text
quotations omit internal quotation marks, citations, alternations, and footnotes.

                                                 2
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 5 of 45




discussed from the outset (GX 1)—its purported objective to provide the money directly to the

federal government was impossible. (Kolfage PSR ¶ 19; Tr. 70-73). GoFundMe warned Kolfage

that he would have to identify a legitimate non-profit organization to which the funds he and Shea

had raised could be transferred, or else the funds would be returned. (Kolfage PSR ¶ 19).

       Kolfage turned to co-defendants Stephen Bannon 2 and Andrew Badolato for help. Within

days of becoming involved, Bannon and Badolato took significant control of the campaign’s

organization and day-to-day activities, including the campaign’s finances, messaging, donor

outreach, and general operations. (Kolfage PSR ¶¶ 20-21).

       In order to retain the millions of dollars they had raised, Kolfage, Bannon, Badolato, and

Shea formed a non-profit entity, We Build the Wall, Inc., to receive the donated money and use it

to privately build a southern border wall. (See, e.g., Kolfage PSR ¶ 22; Tr. 74-76; GX 302; GX

306). Kolfage was the president and public face of the organization. (GX 352). Kolfage, Bannon,

and Badolato, individually and through WBTW, repeatedly made representations to donors,

regulators, and the general public to the effect that “100% of the funds raised on GoFundMe will

be used in the execution of our mission and purpose,” i.e. to build the wall, and that Kolfage would

“personally not take a penny of compensation from these donations.” 3 (E.g., Kolfage PSR ¶¶ 17,


2
 The charges brought against Bannon in this case were dismissed after he was pardoned by then-
President Trump.
3
  The PSRs attribute the extensive efforts to make these false public statements principally to
Kolfage, Bannon, and Badolato. (See Kolfage PSR ¶ 37; Shea PSR ¶ 19; but see Shea PSR ¶ 20
(“Beginning in approximately January 2019, KOLFAGE, BANNON, BADOLATO, and SHEA
caused We Build the Wall to mislead donors…[and] worked together to misappropriate hundreds
of thousands of dollars of those funds for their own personal benefit”)). The evidence at trial
established that Shea knew about and was involved in the false statements as well. (See, e.g.,
GX 23 (Shea asks Kolfage whether “we want this statement”—that “ALL PROCEEDS GO
DIRECTLY TO BUILDING THE WALL”—“at the top” of a website; after Kolfage responds “I
think since it can’t be proven it’s ok,” Shea writes “K…I don’t want to go to jail”)). The evidence
at trial proved that the statement was, in fact, false; the proceeds referenced in the statement were
split between Kolfage and Shea, and none went to WBTW. (See GX 921).

                                                 3
           Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 6 of 45




24, 26-35; GX 306 (WBTW GoFundMe page); see also, e.g., Tr. 83-84, 122-32, 448-49, 468-69,

482-84; GX 352). Bannon and Badolato recognized the importance of these lies, discussing that

Kolfage’s phony selflessness would generate “the most talked about media narrative ever,” and

would cause people to regard Kolfage as a “saint.” (E.g., Kolfage PSR ¶ 32; GX 16; GX 19).

       At Shea’s trial, multiple victims testified that these false promises were material. Victims

reported that the defendants’ representations influenced the victims’ decisions to donate to

WBTW, and that they would not have donated if they had known these promises were false.

(Tr. 449-50, 469-70; see also, e.g., Kolfage PSR ¶¶ 34-35). But, as discussed below, those

representations were not true; the truth was that Kolfage, Bannon, Badolato, and Shea stole and

pocketed hundreds of thousands of dollars from WBTW.

       While they were publicly promising that 100% of donated funds would go towards

construction of a southern border wall, and that Kolfage would take no money, the defendants

privately arranged to steal donor money to compensate Kolfage. Kolfage, Bannon, and Badolato

secretly agreed that Kolfage would covertly be paid $100,000 up front, and then $20,000 monthly,

from WBTW donor funds. (Kolfage PSR ¶ 38; GX 16; see also, e.g., GX 26; GX 36; GX 109;

GX 112).

       And all four defendants took steps to effectuate that agreement. Bannon and Badolato, for

their parts, arranged to route money from WBTW to a separate non-profit that Bannon controlled,

Citizens of the American Republic (“COAR”), and then to Kolfage. Kolfage never worked for

COAR—Bannon’s entity was just an intermediary the defendants used to funnel money stolen

from WBTW to Kolfage while concealing its original (fraudulent) source. (Kolfage PSR ¶¶ 40-41).

And Kolfage wasn’t the only beneficiary of the money fraudulently transferred from WBTW to




                                                4
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 7 of 45




COAR—Bannon and Badolato kept some of the stolen money for themselves. (See Kolfage PSR

¶¶ 41-43; GX 900).

       Shea, too, acted as a conduit for the transfer and concealment of stolen money from WBTW

to Kolfage. After the launch of WBTW, Shea created a shell company called Ranch Property

Marketing and Management (“RPMM”). (Kolfage PSR ¶¶ 46-48; Tr. 246-48; GX 501). Over a

period of months, RPMM repeatedly received transfers from WBTW, and then kicked portions of

those transfers back to Kolfage; on one occasion, Shea used his own bank account, rather than

RPMM’s account, as the intermediary account. (See GX 900; GX 901-C). And Kolfage and Shea

took further steps to obscure the nature of these transfers of embezzled WBTW funds: they used

fraudulent invoices and memo lines in checks and wire transfers to paper their intermediary

kickback transactions. (See, e.g., Kolfage PSR ¶¶ 48-49; GX 906-C; GX 906-E; GX 906-F;

GX 906-H). One witness at Shea’s trial, Charlie Ford, testified about an example of this. Ford’s

company, Vision Quest Solutions, provided security services to WBTW as a contractor. Shea was

Ford’s point of contact at WBTW, and Vision Quest sent WBTW an invoice for approximately

$20,000. Shea then turned around and created a fraudulent invoice in the name of RPMM, for

almost $50,000, and sent it to WBTW. (Tr. 405-11; GX 116A; GX 118A). Using the proceeds

from that invoice, Shea paid Ford’s invoice, paid a $20,000 kickback to Kolfage, and kept the

remainder of the money for himself. (GX 901-H).

       All told, Kolfage received more than $350,000 in donor funds from WBTW, all of which

was passed to him indirectly after being laundered through COAR, RPMM, or other intermediaries

by Bannon, Badolato, and Shea. Kolfage spent that money on personal expenses, including home

renovations, boat payments, a luxury SUV, a golf cart, jewelry, cosmetic surgery, and personal tax

payments and credit card debt. (Kolfage PSR ¶ 54). And Kolfage was not the only beneficiary of



                                                5
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 8 of 45




this scheme. Bannon, Badolato, and Shea weren’t mere conduits to Kolfage, they also stole

hundreds of thousands of dollars from WBTW donors themselves. Bannon’s non-profit

organization, COAR, received more than $1,000,000 from WBTW, and kicked back only a

percentage of that money to Kolfage. Shea and his shell company RPMM received hundreds of

thousands of dollars from WBTW; Shea kicked about a quarter million dollars to Kolfage, but kept

more than $180,000 of the stolen WBTW donor funds for himself. Just as Kolfage did, Bannon,

Badolato, and Shea each spent the money they respectively stole from WBTW on personal

expenses. (Shea PSR ¶¶ 51-53; GX 900). By design, none of these payments were ever disclosed

to the public. As Kolfage remarked to Badolato, “as far as the public knows, no one is getting

paid,” and “salaries will never be disclosed.” (Shea PSR ¶ 53 (cleaned up)).

       By October 2019, the defendants had carried out the thefts described above, and the

Government had begun a covert investigation into the scheme. That month, Kolfage, Bannon,

Badolato, and Shea learned of the Government’s investigation, when an employee of a financial

institution at which WBTW had previously had an account received a grand jury subpoena and,

not realizing disclosure was prohibited by law, disclosed it to an outside lawyer working for

WBTW. (Kolfage PSR ¶ 58; Tr. 147-53, 305-15; GX 909). The defendants immediately began

taking additional steps to conceal their fraud scheme. They removed false representations from

WBTW’s website, and added a statement that Kolfage would be paid a salary starting in January

2020. Kolfage and Badolato also began communicating via encrypted messaging applications.

(Kolfage PSR ¶ 58). And Kolfage and Shea—realizing the risk the Government’s investigation

posed to them—sought to cover their tracks by creating backdated contracts to retroactively justify

their theft of WBTW money and payment of kickbacks. Kolfage instructed Shea to “[g]et RPMM

stuff ASAP.” (GX 53). Then, they worked together to create and sign backdated contracts. Shea



                                                6
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 9 of 45




and Kolfage created a backdated “vendor services agreement” between RPMM and WBTW, and

they executed a backdated letter agreement purporting to memorialize an agreement between

Kolfage and Shea regarding licensing of WBTW’s donor list. (Kolfage PSR ¶ 59; Tr. 316-34;

GX 127; GX 128; GX 129; GX 129A; GX 130; GX 130A; GX 907). Although these documents

were created in October 2019, Kolfage and Shea dated them six months earlier, so that they would

falsely appear to justify the prior payments. 4

    B. The Defendants’ Convictions and Guidelines Calculations

       This case began with the filing of Indictment 20 Cr. 412 (AT) (the “Indictment”) on

August 17, 2020. The Indictment was unsealed on August 20, 2020, upon the defendants’ arrests.

       1. Kolfage’s Guilty Pleas and Guidelines Range

       On April 21, 2022, pursuant to a plea agreement, Kolfage pled guilty to Count One of the

Indictment, which charged him with conspiracy to commit wire fraud, in violation of 18 U.S.C.

§ 1349. He also pled guilty to all three counts of a separate indictment, originally filed in the

Northern District of Florida, which was transferred to this District pursuant to Rule 20 and assigned

case number 22 Cr. 201 (AT) (the “Florida Indictment”). Each of Counts One and Three of the

Florida Indictment charged Kolfage with making false statements on tax returns, in violation of 26

U.S.C. § 7206(1) and 18 U.S.C. § 2, and Count Two of the Florida Indictment charged Kolfage

with wire fraud in violation of 18 U.S.C. §§ 1343 and 2.




4
 These facts had not been fully developed at the time of the Government’s plea agreements with
Kolfage and Badolato. Their stipulated Guidelines ranges, which the Government stands by for
purposes of their sentencings, do not include enhancements for their obstructive conduct. At trial,
Shea was convicted of falsification of records in violation of 18 U.S.C. § 1519, and he does receive
a two-level increase for obstruction. (Shea PSR ¶ 82). The concealment conduct that Kolfage,
Badolato, and Shea engaged in, however, is relevant, and should be considered under Section
3553(a) as to all three defendants.

                                                  7
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 10 of 45




       Kolfage’s plea agreement included a stipulation between the parties as to the application

of the Guidelines. The parties stipulated to a total offense level of 24, which is a product of the

Guidelines applicable to Count One of the Indictment. The base offense level is seven, see

U.S.S.G. § 2B1.1(a)(1); a 16-level increase applies under U.S.S.G. § 2B1.1(b)(1)(I), because the

loss amount attributable and reasonably foreseeable to Kolfage was between $1.5 million and

$3.5 million; a two-level increase applies under U.S.S.G. §§ 2B1.1(b)(2)(A)(i) and (ii), because

the offense involved ten or more victims and was committed through mass marketing; another

two-level increase applies under U.S.S.G. § 2B1.1(b)(9)(A), because the offense involved a

misrepresentation that the defendant was acting on behalf of a charitable organization; and a three-

level decrease applies under U.S.S.G. § 3E1.1 because of Kolfage’s timely acceptance of

responsibility. The parties stipulated that all three Counts of the Florida Indictment are grouped

with Count One of the Indictment pursuant to U.S.S.G. § 3D1.2(d), because their offense levels

are determined based on the total amount of loss, and that under U.S.S.G. § 3D1.3(b), the

Guidelines for Count One of the Indictment applied (and the inclusion of the loss from the Florida

Indictment in an aggregate total did not increase the offense level under U.S.S.G. § 2B1.1(b)(1)).

The parties further stipulated that Kolfage has zero criminal history points and is in criminal history

category I, and that the resulting Guidelines range is 51 to 63 months’ imprisonment. The

Probation Office’s Guidelines calculation is the same. (Kolfage PSR ¶¶ 82-97, 166). The Probation

Office recommends a sentence of 36 months’ imprisonment, in a recommendation that balances

Kolfage’s personal characteristics, including his military service and injuries, against his role in

the offense, including that “[h]e engaged in this sheme over a several year period with one goal in

mind, enriching himself,” and that he “attempted to conceal [his] illegal conduct,” and that at the

time of the offenses, Kolfage “was receiving a disability income, social security income, and had



                                                  8
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 11 of 45




been provided a free home” so he “was not using the funds to support himself or his wife or

children, but rather to elevate his financial situation and spend money on material things that were

not essential.” (Kolfage PSR at 48-49).

       2. Badolato’s Guilty Plea and Guidelines Range

       On April 21, 2022, pursuant to a plea agreement, Badolato pled guilty to Count One of the

Indictment, which charged him with conspiracy to commit wire fraud, in violation of 18 U.S.C.

§ 1349. Badolato’s plea agreement included a Guidelines stipulation. The parties stipulated to a

total offense level of 22: a base offense level of seven, see U.S.S.G. § 2B1.1(a)(1); a 14-level

increase under U.S.S.G. § 2B1.1(b)(1)(H), because the loss amount attributable and reasonably

foreseeable to Badolato was between $550,000 and $1.5 million; a two-level increase under

U.S.S.G. §§ 2B1.1(b)(2)(A)(i) and (ii), because the offense involved ten or more victims and was

committed through mass marketing; another two-level increase under U.S.S.G. § 2B1.1(b)(9)(A),

because the offense involved a misrepresentation that the defendant or a co-conspirator was acting

on behalf of a charitable organization; and a three-level decrease under U.S.S.G. § 3E1.1 because

of Badolato’s timely acceptance of responsibility. The parties stipulated that Badolato has zero

criminal history points and is in criminal history category I, and that the resulting Guidelines range

is 41 to 51 months’ imprisonment. The Probation Office’s Guidelines calculation is the same.

(Badolato PSR ¶¶ 72-88, 130). Citing Badolato’s personal history and characteristics and his

family support, as well as the needs to provide adequate punishment and promote respect for the

law and deterrence, the Probation Office recommends a sentence of 30 months’ imprisonment.

(Badolato PSR at 34).

       3. Shea’s Trial Convictions and Guidelines Range

       Also on April 21, 2022, Superseding Indictment S2 20 Cr. 412 (AT) (the “S2 Indictment”)

was filed against Shea. Shea went to trial on the S2 Indictment in May 2022, resulting in a mistrial.

                                                  9
        Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 12 of 45




In October 2022, Shea again went to trial on the S2 Indictment, and on October 28, 2022, a jury

unanimously convicted him of all three counts: Count One of the S2 Indictment charged Shea with

conspiracy to commit wire fraud, in violation of 18 U.S.C. § 1349; Count Two charged him with

conspiracy to commit money laundering, in violation of 18 U.S.C. § 1956(h); and Count Three

charged him with falsifying records with the intent to impede, obstruct, or influence the

investigation by the Government that led to the charges in this case, in violation of 18 U.S.C.

§§ 1519 and 2.

       Shea’s offense level under the Guidelines is calculated as follows:

       Count One

       1. The Guideline applicable to Count One is U.S.S.G. § 2B1.1.

       2. Pursuant to U.S.S.G. § 2B1.1(a)(1), the base offense level is seven because the offense
          of conviction has a statutory maximum term of imprisonment of 20 years or more.

       3. Pursuant to U.S.S.G. § 2B1.1(b)(1)(G), 16 levels are added because the loss amount
          attributable and reasonably foreseeable to the defendant was more than $1,500,000, but
          not more than $3,500,000.

       4. Pursuant to U.S.S.G. §§ 2B1.1(b)(2)(A)(i) and (ii), two levels are added because the
          offense involved 10 or more victims and was committed through mass-marketing.

       5. Pursuant to U.S.S.G. § 2B1.1(b)(9)(A), two levels are added because the offense
          involved a misrepresentation that the defendant or a co-conspirator whose conduct is
          attributable to the defendant pursuant to U.S.S.G. § 1B1.3(a)(1)(B) was acting on
          behalf of a charitable organization.

       6. Accordingly, the total offense level for Count One is 27.

       Count Two

       7. The Guideline applicable to Count Two is U.S.S.G. § 2S1.1.

       8. Pursuant to U.S.S.G. § 2S1.1(a)(1), the base offense level is 27, that is, the total offense
          level for Count One, the underlying offense from which the laundered funds were
          derived, because the defendant committed the underlying offense and the offense level
          for that offense can be determined.



                                                 10
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 13 of 45




       9. Pursuant to U.S.S.G. § 2S1.1(b)(2)(B), two levels are added because the defendant was
          convicted under 18 U.S.C. § 1956.

       10. Accordingly, the total offense level for Count Two is 29.

       Count Three

       11. The Guideline applicable to Count Three is U.S.S.G. § 2J1.2.

       12. Pursuant to U.S.S.G. § 2J1.2(c)(1), the total offense level is determined by applying
           U.S.S.G. § 2X1.3 to the underlying criminal offenses, because Count Three involved
           obstructing the investigation or prosecution of those criminal offenses, and because the
           application of U.S.S.G. § 2X1.3 to the underlying criminal offenses yields a total
           offense level greater than the base offense level of 14 that would otherwise apply
           pursuant to U.S.S.G. § 2J1.2(a).

       13. Pursuant to U.S.S.G. § 2X1.3(a)(1), the base offense level for Count Three is 23, that
           is, six levels lower than the higher of the total offense levels for Counts One and Two.

       Grouping Analysis

       14. Pursuant to U.S.S.G. § 3D1.2(c), Counts One and Two are treating as a single group
           (the “Group”) because Count One embodies conduct that is treated as an adjustment to
           the guideline applicable to Count Two.

       15. Pursuant to U.S.S.G. § 3D1.3(a), the offense level for the Group is 29 because it is the
           highest offense level of the Group.

       16. Pursuant to U.S.S.G. § 3C1.1 Application Note 8, Count Three is also considered part
           of the Group and two offense levels are added to account for its addition, because the
           total offense level for Count Three is lower than that of the Group before its addition.

       17. Accordingly, the total offense level for the Group is 31.

       Shea has no criminal history points and is therefore in criminal history category I. The

resulting Guidelines range is 108 to 135 months’ imprisonment. The Probation Office agrees with

this calculation. (Shea PSR ¶¶ 74-90, 137). Relying on the trial evidence that Shea recognized the

illegality of his offense conduct while committing it, the fact that he “is responsible for losses to

over 300,000 victims and had minimal regard for the effect his actions could have on those

victims,” and the seriousness and length of the offense conduct, balanced against Shea’s personal




                                                 11
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 14 of 45




circumstances, the Probation Office recommends a sentence of 54 months’ imprisonment. (Shea

PSR at 32-33).

                                            ARGUMENT

I. The Appropriate Sentences

       The Government respectfully submits that the Court should impose sentences of

51 months’ imprisonment on Kolfage, 41 months’ imprisonment on Badolato, and 63 months’

imprisonment on Shea. The three defendants are discussed, in turn, below.

   A. Applicable Law

       The Guidelines are “the product of careful study based on extensive empirical evidence

derived from the review of thousands of individual sentencing decisions,” Gall v. United States,

552 U.S. 38, 46 (2007), and district courts are required to treat them as the “starting point and the

initial benchmark” in sentencing proceedings. Id. at 49.

       After calculating the Guidelines, the Court must consider seven factors: (1) “the nature and

circumstances of the offense and the history and characteristics of the defendant,” (2) the purposes

of sentencing discussed in the next paragraph, (3) “the kinds of sentences available,” (4) the

Guidelines range itself, (5) any relevant policy statements by the Sentencing Commission, (6) “the

need to avoid unwarranted sentence disparities among defendants,” and (7) “the need to provide

restitution to any victims.” 18 U.S.C. § 3553(a)(1)-(7); see also Gall, 552 U.S. at 49-50 & n.6.

       In determining the appropriate sentence, Section 3553(a) directs judges to “impose a

sentence sufficient, but not greater than necessary, to comply with the purposes” of sentencing,

which are:

       (A)       to reflect the seriousness of the offense, to promote respect for the law, and
                 to provide just punishment for the offense;
       (B)       to afford adequate deterrence for criminal conduct;
       (C)       to protect the public from further crimes of the defendant; and

                                                  12
        Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 15 of 45




       (D)     to provide the defendant with needed educational or vocational training,
               medical care, or other correctional treatment in the most effective manner.

18 U.S.C. § 3553(a)(2).

   B. Kolfage

       1. Kolfage Should Be Sentenced to 51 Months’ Imprisonment

       Taking into account all of the factors set forth in 18 U.S.C. § 3553(a), including Kolfage’s

background, the nature and circumstances of his offenses, the need to avoid unwarranted

sentencing disparities, and the importance of general and specific deterrence, a sentence of

51 months’ imprisonment—the bottom of the applicable Guidelines range—would be sufficient

but not greater than necessary to accomplish the purposes of sentencing.

       First, the nature and seriousness of the offense and the need to provide just punishment

warrant such a sentence. See 18 U.S.C. § 3553(a)(1), (2)(A). Kolfage committed serious crimes.

He wrongfully exploited the public platform he had developed as a result of the terrible injuries he

suffered during his honorable military service. He used his carefully crafted public façade to steal

from hundreds of thousands of individual donors who trusted him with their money. He lied to

those donors, brazenly and repeatedly, in direct communications and in statements to the media.

(GX 905). He told those lies in emails, social media posts and messages, in television interviews,

and at live events to which he traveled throughout the United States—literally lying to the faces

of those from whom he was stealing. Compounding his culpability, he then viciously and publicly

attacked members of the press and public who questioned his trustworthiness or integrity, or drew

attention to the suspicious circumstances surrounding his fundraising efforts. The wire fraud

scheme was egregious, long-running, and multifaceted, and was designed to—and did—chiefly

benefit Kolfage. (GX 900). It was then followed by an equally brazen tax fraud scheme in which




                                                13
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 16 of 45




Kolfage repeatedly lied, under oath, to the IRS, in part to avoid paying taxes on his ill-gotten gains

from the wire fraud scheme.

        Second, the needs for the sentence imposed to promote respect for the law and to afford

adequate deterrence to criminal conduct warrant a sentence of 51 months’ imprisonment. See 18

U.S.C. § 3553(a)(2)(A), (2)(B). “Considerations of…deterrence argue for punishing more heavily

those offenses that either are lucrative or are difficult to detect and punish, since both attributes go

to increase the expected benefits of a crime.” United States v. Zukerman, 897 F.3d 423, 429 (2d

Cir. 2018). Kolfage’s wire fraud and tax fraud schemes were both: they were highly lucrative,

netting him an enormous sum of money, and they required two separate lengthy, complex, and

resource-intensive investigations to uncover. Importantly, Kolfage did not commit the crimes for

which he is being held accountable out of desperation, a need for money, or to pay off debts he

had accrued; indeed, the money was not spent on necessities of any type, and it is undisputed that

his income and assets separate from the scheme were adequate for him and his family to live a

comfortable life. Rather, Kolfage committed these crimes out of greed, out of a desire to live a life

of luxury, a life he could not afford through his legitimate income. He used the hundreds of

thousands of dollars he embezzled to, among other things, renovate his home, fund cosmetic

surgery for his wife, 5 and purchase a boat, a luxury SUV, a golf cart, and jewelry. (Kolfage PSR

¶ 54). Others who may contemplate engaging in fraud schemes like Kolfage’s, as well the victims



5
  According to her Instagram page—which was active as recently as a few days ago, but which
appears to have been taken down as of the date of this filing—Kolfage’s wife is a “Fashion Model”
and “Brand Influencer” who had over 1.1 million followers on Instagram. The Government is
skeptical of Kolfage’s claim that her income is merely $2,500 per month. (See PSR ¶ 158 & n.7).
See Jade Scipioni, Here’s How Many Social Media Followers You Need To Make $100,000,
CNBC, Apr. 30, 2021, https://www.cnbc.com/2021/04/30/how-much-money-you-can-make-off-
social-media-following-calculator.html (“An influencer with over a million followers [on
Instagram] can reportedly make more than $250,000 per post from brands.”).

                                                  14
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 17 of 45




of these crimes and members of the public, should be sent a clear message that such conduct will

be dealt with harshly, particularly where a defendant uses fraud proceeds to fund an exotic lifestyle.

The types of crimes Kolfage committed, the way in which he committed them, and the benefits he

received from his crimes, as well as the public attention he brought upon himself in doing so, all

support the conclusion that a sentence of 51 months’ imprisonment is warranted for the purposes

of promoting respect for the law and general deterrence. See United States v. Watts, No. 21-2925,

2023 WL 2910634, at *4 (2d Cir. Apr. 12, 2023) (summary order) (“consideration of general

deterrence is especially important in the crimes of the sort that this case involves,” i.e., wire fraud

and money laundering); United States v. Park, 758 F.3d 193, 201 (2d Cir. 2014) (“[G]eneral

deterrence occupies an especially important role in criminal tax offenses, as criminal tax

prosecutions are relatively rare.”).

       Third, a substantial sentence is similarly necessary for specific deterrence. Although

Kolfage has pled guilty and legally accepted responsibility for his conduct, he has, thus far,

demonstrated no remorse or regret for actions and the victims of his schemes. His claim to be

“regretful and remorseful” (Kolfage Ltr. 3) rings hollow in light of the way in which he has

consistently conducted himself during the pendency of this case, up to and including certain

aspects of his sentencing submission. For example, in his submission Kolfage claims that, when

he began raising money for WBTW, “he did not understand that he was not permitted to just give

money to congress” or “donate the funds to the government and earmark them for a wall.” (Kolfage

Ltr. 14). This is false, as the Court knows from the evidence adduced at Shea’s trial. On

December 12, 2018, before they launched the GoFundMe fundraiser, it was Kolfage who informed

Shea—as they hatched their scheme—that “if trump [i.e., the government] doesn’t take the money

then we donate it to our organization.” (GX 1). Within minutes, Shea even confirmed as much:



                                                  15
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 18 of 45




“trump can’t take the money…so we could transfer it.” (Id.). Similarly, according to the notes of

an interview with the Manhattan District Attorney’s Office post-dating Kolfage’s plea in this case,

Kolfage claimed that “he never intentionally lied about not taking [money] from WBTW but at

some point he realized what he had been doing was a crime.” 6 The notion that Kolfage never

intentionally lied, but simply came to “realize[]” at some point that he had committed a crime,

suggests inadvertence that is difficult to reconcile with his guilty plea in this case. In any event,

the suggestion that Kolfage (and Shea) began raising funds in good faith, for the purpose of

donating 100% of it to the United States Government, is a demonstrably false narrative that Shea

also unsuccessfully pushed at trial; the jury rejected it, and this Court should as well.

       In addition to trying to revise the facts of his own criminal conduct, Kolfage’s submission

completely ignores his troubling conduct towards the Government, the Court, and the public during

the pendency of this case. Despite Kolfage’s best efforts to conceal his crimes, he got caught. He

then went on a public offensive and tried to profit off the charges by raising money, likely from

the same individuals whom he had victimized through his misuse of WBTW. Beginning on at least

August 21, 2020, the day after Kolfage was arrested, he made a steady stream of public statements

on his social media accounts about this case. In just the first week after his arrest, Kolfage made

at least a dozen statements about this case on his Facebook account, which had more than 630,000

followers and could be viewed by anyone who visited his page. During that time period, Kolfage

also streamed “live” videos featuring discussions critical of the case on his Facebook page. The

statements typically contained expressions of opinion about the defendant’s innocence and the




6
  The Government produced these notes to Kolfage on October 28, 2022, shortly after receiving
them, and can provide them to the Court upon request.

                                                 16
        Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 19 of 45




merits of the case, among other subjects, and many of them were highly inflammatory. The

following is a sample of posts by Kolfage on his Facebook page from that time period.




                                              17
        Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 20 of 45




       Kolfage’s inflammatory posts were, as he undoubtedly intended, amplified by media

coverage of them. See, e.g., Ben Feuerherd, Accused Fraudster Brian Kolfage Rants Against Feds

on Facebook, N.Y. Post, Aug. 21, 2020, https://nypost.com/2020/08/21/accused-fraudster-brian-

kolfage-rants-against-feds-on-facebook/.




                                             18
        Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 21 of 45




       Shortly after this Court granted Bannon’s motion to dismiss in light of President Trump’s

pardon, Kolfage posted the following on social media calling for this case to be reassigned to a

different judge and suggesting that this prosecution was somehow improper:




                                              19
        Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 22 of 45




       Shortly after the United States Attorney’s Office for the Northern District of Florida filed

the tax fraud charges to which Kolfage later pled guilty before this Court, Kolfage posted the

following on social media:




       On October 21, 2021, Kolfage posted the following on social media:




       On April 7, 2022, after it was publicly reported that he planned to plead guilty, he posted

on social media the following:




Around that same time, he made similar comments to the media. See, e.g., Jim Thompson, Brian

Kolfage Agrees To Plead Guilty in ‘We Build the Wall’ Federal Fraud Case, N.W. Fla. Daily

                                               20
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 23 of 45




News, Apr. 11, 2022, https://www.nwfdailynews.com/story/news/courts/2022/04/11/kolfage-

enters-plea-deal-build-the-wall-federal-charges-new-york-and-florida/9509759002/ (“Contacted

via voice message and text message on Friday for comment, Kolfage did not return the voice

message, but did respond with a cryptic text message on the plea agreement. ‘They Michael

Flynn'd me,’ he wrote. Asked for clarification, Kolfage texted, ‘That’s all I can really say at the

moment ...,’ before going on to write that ‘... after it's all said and done, I'll give you a full

interview.’”).

       Kolfage’s outrageous posts did not cease with his guilty plea. On April 22, 2022, the day

after his guilty plea, Kolfage posted on social media an article falsely claiming that

“Democrats…Charged Him with Fraud and Tried to Destroy Him”:




                                                21
        Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 24 of 45




       In addition to Kolfage’s public messages attacking this case, the Government, and the

Court—made both before and after he pled guilty—he launched and continues to operate a website

seeking to profit off of false narratives and outlandish conspiracy theories about this case. The

following are screenshots from fight4kolfage.com, a slick fundraising site which is still active and

purports to have raised approximately $64,000.




                                                 22
Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 25 of 45




                              23
        Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 26 of 45




       Kolfage’s conduct has repeatedly established that he requires deterrence from further

criminal conduct. And the extensive campaign against this case, the Court, and the Government

recounted above is not taken into account by the Probation Office’s recommendation of a sentence

of 36 months’ imprisonment. As a result, with all due respect to the Probation Office, their

recommendation for Kolfage is insufficient to accomplish the purposes of sentencing here. In light

of Kolfage’s plain lack of remorse; the false narratives he is seeking to push upon the Court in his

sentencing submission; his inflammatory and false public offensive against this case, the

Government, and the Court; as well as his continuing effort to financially benefit from his lies, a


                                                24
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 27 of 45




sentence of 51 months’ imprisonment is necessary to ensure adequate specific deterrence from

further abuses.

       2. Kolfage’s Request for a Sentence of Home Confinement Should Be Rejected

       Seeking to avoid any prison sentence at all, Kolfage requests that the Court impose “home

incarceration” for an unspecified period of time. Although Kolfage’s physical condition is a

mitigating circumstance, a sentence at the bottom of the applicable Guidelines range is sufficient

to account for it. Indeed, the Government made a reasonable plea offer and is recommending a

lenient sentence relative to Kolfage’s conduct specifically because of the injuries Kolfage suffered

while serving our country. But for Kolfage’s physical condition and health circumstances, the

Government likely would have sought a sentence at or above the top of the applicable Guidelines

range. But Kolfage’s injuries, while serious, are not a license to commit fraud with impunity. The

extraordinarily lenient sentence he requests is not called for by the facts of this case, would fail to

account for the seriousness of the conduct at issue and the damage done to the victims, and would

not send the appropriate message to Kolfage, others similarly situated, the public, or the victims

about Kolfage’s criminal conduct. Indeed, Kolfage based this request on five premises, each of

which is deeply flawed and which do not, either independently or collectively, justify the

extraordinary leniency he requests.

       First, Kolfage repeatedly attempts to pass off his criminal conduct as “aberrant behavior”

(See Kolfage Ltr. 1, 2, 3, 15). Notably, his submission references only the donor funds he stole

from WBTW and his false filings with the IRS related to those funds. Even if the Court accepted

that artificially cramped view of Kolfage’s crimes, he carried on his scheme to steal from WBTW

and its donors and lie to the IRS about his income for two years. These crimes were not a

momentary lapse in judgment, they were a sustained campaign of theft and self-dealing. Further,

the scope of Kolfage’s criminal conduct was broader than he acknowledges, and demonstrates a
                                                  25
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 28 of 45




significant willingness to lie for personal gain and disrespect for the law. At the same time Kolfage

lied to donors and to GoFundMe in order to steal hundreds of thousands of dollars from WBTW,

participated in a complex scheme to launder the stolen funds, obstructed the Government’s

investigation, and repeatedly lied under oath to the IRS about his income—including in December

1, 2020, after he was charged in this case—Kolfage also made numerous false statements to several

financial institutions in connection with home equity and boat loan applications made between

September 2018 and April 2019. To be clear, the lies that Kolfage told on the loan applications

had nothing to do with his WBTW fraud scheme or his tax fraud scheme. Indeed, some of the false

statements—made at least as early as September 2018—predated his launch of WBTW by several

months. And those false statements were often accompanied by false documents that Kolfage

created, including a fake letter purportedly signed by an employee of the United States Department

of Veterans Affairs and fake bank and credit card documents showing made-up balances. Even

ignoring that they continued for years, it is simply not the case that the WBTW fraud scheme and

the tax fraud schemes collectively were some type of “aberrant behavior” or momentary lapse in

judgment. Rather, Kolfage was already committing crimes by lying to financial institutions about

his finances to obtain credit to which he was not entitled. (See Kolfage PSR ¶ 70). Unfortunately,

the WBTW fraud scheme and the tax fraud scheme were not “aberrant behavior”—they were

merely an escalation of Kolfage’s longstanding and sustained willingness to lie, conceal, and

commit crimes to enrich himself and live a more luxurious lifestyle.

       Second, Kolfage argues that he should not be incarcerated because the Bureau of Prisons

(“BOP”), he claims, “is not equipped to adequately care” for him. (Kolfage Ltr. 1). Kolfage’s

argument, however, is simply without a factual basis. The Probation Office “contacted the Bureau

of Prisons and they have indicated they could accommodate [Kolfage’s] medical needs and that



                                                 26
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 29 of 45




he would likely be placed in a medical facility.” (Kolfage PSR at 48). The Government separately

contacted the BOP with the same inquiry, to inform the Government’s sentencing

recommendation. After being provided the medical information that Kolfage reported to the

Probation Office, Dr. Dianne Sommer, a Regional Medical Director with the BOP, issued a letter

dated April 4, 2023, in which she explained that “the BOP will be able to provide appropriate care

for Mr. Kolfage once committed to the custody of the BOP.” (Ex. A (letter from BOP) at 3). 7 To

be sure, Kolfage has suffered terrible injuries and is seriously and permanently physically disabled.

However, Kolfage’s self-reporting to the Probation Office and description of his physical

limitations in his submission appear to purposely omit certain activities in which he is able to

engage. For example, he is able to—and does—paddle board and surf (the Government can

provide photographs of him doing so, obtained from public sources, to the Court upon request),

pilot the boat he purchased with a fraudulently obtained loan, and travel. Indeed, during the

schemes for which he is being sentenced, he frequently traveled by plane to locations throughout

the United States and stayed in hotels, without any apparent medical assistance, for days at a time.

In addition, despite his physical challenges, he was fully capable of orchestrating a nationwide,

multimillion-dollar fraud scheme that victimized both hundreds of thousands of individual donors

and the IRS.

       As an alternative to incarceration, Kolfage requests that the Court sentence him to “home

incarceration” for an unspecified period of time. This request effectively asks the Court to deem



7
  Kolfage, without citation to any authority or publication, speculates that he may not receive his
prescribed medications for “months” after beginning a term of incarceration. (Kolfage Ltr. 3). This
claim is not accurate. Dr. Sommer’s letter explains that Kolfage would be able to bring his
medications with him at the commencement of his incarceration, which would then be reconciled
with the BOP’s “extensive National Formulary” and, if needed, any “non-Formulary requests can
usually be accomplished within 36 hours of the clinician’s request.” (Ex. A at 3).

                                                 27
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 30 of 45




his confinement to the luxury home that he has renovated at the expense of the victims in this case

and with the use of a home equity loan he obtained by fraud. The Court should reject the notion

that a defendant could engage in multiple fraud schemes, steal money from donors to a non-profit

organization and fraudulently obtain a loan from a financial institution, spend that money to

renovate his home to make it more luxurious, and then be permitted to use that home as a gilded

cage in lieu of imprisonment. Kolfage’s request is not only unsupported by the Section 3553(a)

factors; on these facts, it is offensive.

        Third, Kolfage suggests that a non-incarceratory sentence is appropriate because he “was

not an organizer or decision maker” for WBTW and that “counsel, Steve Bannon, and others were

truly the decision makers and Mr. Kolfage was the symbolic leader.” (Kolfage Ltr. 1, 2, 13). With

respect to WBTW’s legitimate operations, Kolfage was, in fact, a front-man rather than the person

making the more substantive decisions about how to spend funds—for example, where portions of

the wall should be built. When it came to the fraud and money laundering scheme in which he

participated, however, he was a central decisionmaker. Indeed, he appeared to care far more about

how he was going to get his cut of the money than what was going to be done with the money not

going into his pocket—that latter part, he was fine leaving to others’ discretion. As the Court saw

at Shea’s trial, Kolfage schemed with Shea to determine the best way to fraudulently induce donors

to hand over their money, brainstorming ways to siphon as much money for themselves without

anyone noticing, and creating fake, backdated agreements to cover up their crimes. (GX 904).

Kolfage was not a passive member or minor player in the wire fraud scheme—he was a key

member and a driving force. Kolfage’s self-serving statements in his sentencing submission should

be identified and rejected for what they are: an unwarranted minimization of his role and a baseless

attempt to shift blame to others for conduct about which he professes remorse.



                                                28
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 31 of 45




       Fourth, Kolfage relies on his personal accomplishments, volunteer work, character, and

family life as grounds for leniency. (Kolfage Ltr. 2-10). It is, of course, appropriate for the Court

to take account of Kolfage’s personal accomplishments at sentencing. But Kolfage’s positive

personal qualities do not distinguish him from other similarly situated white-collar defendants—

people who, despite having extraordinary opportunities and a network of people who love and

support them, nonetheless choose to steal and defraud. As Judge Marrero astutely observed, these

sorts of arguments:

       [F]all[] into a pattern advanced by a subset of the white collar criminal. This
       category encompasses a select class: distinguished, reputable, highly esteemed
       model citizens such as this defendant. The list of their achievements and virtues is
       long and impressive. Let us count the ways. At home, they are good family men
       and women, caring spouses, loving parents, loyal and reliable to friends. At work,
       they are looked up to as outstanding professionals and business partners. To their
       community’s charities and public causes they are generous patrons and sponsors.
       And as worshipers they are devout, often rising as leaders of the congregation.

       Yet, for all of their outward rectitude, these otherwise good people suffer a fatal
       flaw: they lead a double life. Somewhere at the core, in a distorted dimension of
       the soul, the public image they present is as false as the lies they tell to sustain the
       appearances of an exemplary life. And somehow, for reasons that always defy
       reason, they fall into crime, doing wrongful deeds that seem aberrational, selfish
       and greedy acts that, when caught, they claim are entirely out of character with their
       otherwise law-abiding lives.

United States v. Regensberg, 635 F. Supp. 2d 306, 308 (S.D.N.Y. 2009), aff’d, 381 F. App’x 60

(2d Cir. 2010).

       Kolfage, like the defendant in Regensberg, led a double life. He was a decorated veteran,

gravely injured at war, who came home, got an education, developed a public profile, and built a

family. Yet Kolfage also traded on these personal qualities to carry out his crimes. He defrauded

hundreds of thousands of ordinary people in service of his own greed, and he used his military

service, his injuries, his notoriety, and his good reputation to do it. Now, having committed a string

of serious crimes, he is turning back to those very same personal qualities as he tries to avoid

                                                 29
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 32 of 45




accountability for his wrongdoing. The Court should not treat the personal characteristics that

enabled Kolfage’s crimes as a reason not to adequately punish him.

       Fifth, Kolfage suggests that an incarceratory sentence somehow would result in an

unwarranted sentencing disparity. (Kolfage Ltr. 2). Kolfage’s argument involves some reliance on

general statistics about sentences where fraud guidelines are employed, but no analysis that

compares his case to those other cases in any way that can meaningfully impact the Court’s

decision in this case. What is apparent, however, is that, when compared with a more run-of-the-

mill fraud case, there are several aggravating circumstances that make Kolfage deserving of a

substantial incarceratory sentence: Kolfage acted not out of desperation or need, but out of greed

and a sense of entitlement; Kolfage lived a life of luxury, and used the fraud proceeds to fund that

lifestyle; Kolfage committed several different frauds and crimes, some of which were entirely

unrelated to the others, rather than only one fraud or crime; Kolfage was investigated by two

separate United States Attorney’s Offices and sets of federal investigators, and was indicted in two

different districts for distinct criminal conduct; Kolfage’s victims included not only GoFundMe,

financial institutions, and the IRS, but also hundreds of thousands of individual small-dollar donors

who entrusted him with their money for a cause they believed in; Kolfage’s lies to donors were

brazenly public, repeated, and adamant; and after being charged and arrested, he immediately

began an unceasing public offensive against the case, the Government, and the Court. Moreover,

Kolfage is substantially more culpable than both of his remaining co-defendants, Badolato and

Shea. Were it not for (a) Kolfage’s physical condition and (b) Shea’s additional counts of

conviction and lack of acceptance of responsibility, the Government likely would have sought a

sentence substantially higher for Kolfage than for Shea. In any event, it is difficult to imagine that

imposing the sentence the Government requests—at the bottom of the Guidelines range, to account



                                                 30
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 33 of 45




for the significant mitigating circumstance of his physical condition—could possibly result in an

unwarranted sentencing disparity. Rather, imposing the sentence Kolfage requests—not a day of

incarceration, but instead confinement to his luxury waterfront home in Florida, which he

renovated with fraud proceeds—is far more likely to create an unwarranted sentencing disparity.

       3. The Court Should Impose a Fine

       Based on Kolfage’s self-reports about his own finances, the Probation Office concluded

that Kolfage “has the ability to pay a fine” (Kolfage PSR ¶ 163) and recommended that the Court

impose a fine at the low end of the applicable Guideline range of $20,000 to $200,000 (Kolfage

PSR ¶ 183), that is, $20,000. (Kolfage PSR at 47, 50.) Such a fine is warranted given the significant

profit Kolfage received from his crimes. He lined his pockets with money that was stolen from the

donors and organization he committed to serving. Thus, the Government agrees with the Probation

Office’s analysis, and recommends that the Court impose a fine of $20,000.

   C. Badolato

       1. Badolato Should Be Sentenced to 41 Months’ Imprisonment

       Taking into account all of the factors set forth in 18 U.S.C. § 3553(a), including the nature

and circumstances of the offense, Badolato’s role in the scheme, the need for general and specific

deterrence, and Badolato’s early acceptance of responsibility, the Government submits that a

sentence at the bottom of the Guidelines range—specifically 41 months’ imprisonment—is

sufficient but not greater than necessary to accomplish the purposes of sentencing.

       The nature and circumstances of the offense warrant a Guidelines sentence. 18 U.S.C.

§ 3553(a)(1) and (2)(A). As Badolato admitted when he pleaded guilty, he “together with others,

mutually decided to falsely claim that Mr. Kolfage, president of We Build the Wall, would not

receive any compensation from We Build the Wall funds,” and those false statements were made

“to bolster the reputation of We Build the wall and, in turn, generate more donations.” (Apr. 21,

                                                 31
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 34 of 45




2022 Plea Tr. at 46). The evidence at Shea’s two trials established that this was not a one-time slip

of the tongue, but rather a central part of an ongoing scheme to induce donors to part with millions

of dollars. The trial evidence also established that there was an organized plan in place for paying

kickbacks to Kolfage and other members of the conspiracy.

       Badolato played a central role in the scheme. He got Kolfage to agree to publicly state he

would not take any money in exchange for getting secret kickbacks. Badolato, for instance, texted

Bannon on December 30, 2018, “got Brian [Kolfage] to agree” to represent to GoFundMe and the

public that “He WILL NOT be paid a dime…But we gotta find an end around to get him stuff and

something soon.” Badolato and Bannon were, together, in charge of determining just how much

money would be paid to Kolfage and other co-conspirators. Badolato, for example, told Bannon

in January 2019 that they needed “give [Kolfage] slight fear of god that we approve slash your

people[’s] funds.” Bannon texted back, “No deals I don’t approve; and I pay Brian [Kolfage] so

what’s to worry.” And in February 2019, referencing the prior agreement to pay him kickbacks,

Kolfage texted Badolato, “We need to figure out my pay. We started everyone at dec 20th. Mine

was $100k upfront then 20 month. How’s it work for me.” In short, Badolato worked on the

kickback arrangement with Kolfage, ran it by Bannon, and helped to call the shots on what

everyone would be paid.

       Badolato was also central in ensuring that Kolfage was, in fact, paid the kickbacks, and in

figuring out how to transfer the money to him. Badolato orchestrated the transfer of funds from

WBTW to COAR, and from COAR to Kolfage. He prompted Bannon to make payments, sent

instructions to Bannon’s money manager, and dealt with Kolfage’s requests to have his “COAR

pay” made “all in [his] wife’s name.” In May 2019, it was Badolato who instructed Shea to

“[s]end…bk 20k” from a $30,000 wire that went from WBTW to Shea. Badolato also received



                                                 32
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 35 of 45




Shea’s fabricated invoices in July and August 2019, and directed the payments. When Kolfage had

not been paid for June, he texted Badolato, and it was Badolato who arranged for a third party to

receive money from WBTW and kick it back to Kolfage. Badolato was not the public face of

WBTW, and his personal profits from the scheme paled in comparison to those of his co-

conspirators, but he was nonetheless essential to the operation of the conspiracy. While he was

involved in hiring attorneys and advisors, as his sentencing submission notes, he was also

responsible for putting in place the scheme that made the WBTW operation criminal.

        The need to afford adequate deterrence to criminal conduct likewise weighs in favor of a

term of incarceration. Badolato’s medical issues make it less likely that he will commit crime again

in the future. However, as the Court knows, a defendant’s medical issues, or his confinement to

his home do not necessarily prevent him from committing a plethora of crimes over the phone and

internet. That risk is particularly acute here: much of the unlawful conduct here was carried out

online, and from the defendants’ respective homes. Beyond the need to deter this particular

defendant, there is a significant need for general deterrence. Substantial terms of imprisonment

send messages to would-be internet fraudsters that there will be serious consequences for criminal

conduct. That is particularly important with respect to online scams and schemes: there is a steady

rise of crime committed over the internet, including non-profit and charity frauds like the scheme

here.




                                                33
Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 36 of 45




                              34
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 37 of 45




       In balancing the seriousness of Badolato’s offense, and the significant need for deterrence

here, against the mitigating factors he presents, a sentence at the bottom of the Sentencing

Guidelines range—41 months’ imprisonment—is the sentence sufficient but not greater than

necessary under Section 3553(a).

    D. Shea

       1. The Applicable Guidelines Range is 108 to 135 Months’ Imprisonment

       Even as Shea continues to minimize his criminal conduct, he claims that he has accepted

responsibility, and that he therefore deserves an offense-level decrease for acceptance of

responsibility. Shea is not entitled to credit for acceptance of responsibility. His argument to the

contrary relies on a selective reading of the relevant Application Notes and a self-serving revision

of the defense case advanced at both of his trials.

       As an initial matter, Shea ignores Application Note 4 of U.S.S.G. § 3E1.1, which provides

that defendants who, like Shea, receive an enhancement under Section 3C1.1 for obstruction of

justice are ordinarily not entitled to acceptance points. Although the Guidelines recognize that

there may be “extraordinary cases” in which a defendant receives credit for acceptance of

responsibility despite having engaged in obstructive conduct, Shea has not argued that his is the

extraordinary case in which this is appropriate, nor could he.

       Even on its own terms, Shea’s acceptance argument fails. Application Note 2 of U.S.S.G.

§ 3E1.1 does allow for the possibility that a trial defendant can receive acceptance of responsibility



8
 The Government has redacted the two foregoing paragraphs at the request of Badolato’s counsel,
who requests that this information remain under seal.

                                                 35
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 38 of 45




points even after putting the Government to its burden of proof at trial. However, the note

specifically provides that: “[t]his adjustment is not intended to apply to a defendant who puts the

government to its burden of proof at trial by denying the essential factual elements of guilt, is

convicted, and only then admits guilt and expresses remorse.” To the contrary, the note

contemplates a scenario where the defendant’s pre-trial conduct allows for a determination that

the defendant accepted responsibility. See id. (“In each such instance, however, a determination

that a defendant has accepted responsibility will be based primarily upon pre-trial statements and

conduct.”). The examples provided by the Guidelines relate to legal defenses separate from

assertions of factual innocence, “for example, where a defendant goes to trial to assert and preserve

issues that do not relate to factual guilt (e.g., to make a constitutional challenge to a statute or a

challenge to the applicability of a statute to his conduct).” Id.

       Defense counsel tries to shoehorn Shea’s trial strategy into this narrow exception, by

suggesting that Shea proceeded to trial to advance a venue defense. (Shea Mem. 15). That is plainly

inconsistent with the arguments made on Shea’s behalf in both trials and echoed in Shea’s

sentencing submission. 9 The fact that a defendant wishes he had taken a plea after being convicted

at trial is certainly not the “rare” situation contemplated by the Guidelines. See, e.g., United States

v. Roizman, 408 F. App’x 443, 445-46 (2d Cir. 2011) (summary order) (affirming denial of

acceptance points where the defendant was subject to an obstruction enhancement and could not

“point to any pre-trial statements and conduct that indicate an acceptance of responsibility”).



9
  See, e.g., Tr. 697 (defense summation: “[T]he government keeps saying that my client, you know,
he did this scheme, this crazy scheme, to get back Brian Kolfage’s money. I submit to you that
that is not true, that they can’t prove that beyond a reasonable doubt, and that my client worked.”);
Shea Mem. 22 (“[M]uch of the money was actually used as the donors expected it to be. It is also
very uncertain how many donors actually would have withheld their donations if there had been
no misrepresentation….”).

                                                  36
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 39 of 45




       Given that the defendant is not entitled to acceptance of responsibility points, and

consistent with what is set forth in the Presentence Report, the applicable Guidelines range is 108

to 135 months’ imprisonment.

       2. Shea Should Be Sentenced to 63 Months’ Imprisonment

       Taking into account all of the factors set forth in 18 U.S.C. § 3553(a), including the nature

and circumstances of Shea’s offenses, the importance of general and specific deterrence, and the

need to avoid unwarranted sentencing disparities, a sentence of 63 months’ imprisonment would

be sufficient but not greater than necessary to accomplish the purposes of sentencing.

       First, the nature and seriousness of the offense and the need to provide just punishment

warrant such a sentence. See 18 U.S.C. § 3553(a)(1), (2)(A). Shea was instrumental in developing

a scheme that wrongfully exploited hundreds of thousands of individual donors. The wire fraud

scheme was sustained over a substantial period of time. He clearly understood how valuable

Kolfage’s public profile was, and how crafting a narrative around Kolfage’s supposed altruism

would allow them all to profit. Shea, along with his co-defendants, deceived donors in order to

maximize their fundraising.

       Shea’s communications make clear that he was motivated by greed. From the beginning,

Shea viewed this fundraising project as a cash cow. Even as the campaign was being launched,

Shea, Kolfage, and Shea’s wife were brainstorming ventures to monetize this campaign, to get

emails, create a website, add affiliates, get people “to buy shit and we get money.” (GX 1). In a

group exchange at around the time of the campaign’s launch, Shea’s wife trumpeted the potential

profits she hoped to gain: “It’ll be a gold mine for sure.” (GX 2). Shea’s motivation is evident from

the way he spoke about the campaign’s donors. As the campaign went viral, Shea described their

donors dismissively: “I mean, people are crazy. Who would throw money at something like this?

At Christmas time!” (GX 4). His motivation is confirmed by the various ways he extracted money
                                                 37
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 40 of 45




from the organization over its lifetime, perhaps most egregiously with his theft of money to buy

Trump-themed energy drinks. (GX 203A, 903). Shea, like his co-defendants, saw WBTW as a

personal piggybank, brazenly ignoring the promises made to the donors funding it.

       In addition, Shea, like Kolfage, committed multiple ancillary crimes that were spin-offs

from the WBTW scheme, and that further emphasize both his greed and that his participation in

the scheme was in no way an aberration. Before the charges in this case were filed, Shea filed a

fraudulent tax return for 2019, falsely claiming, for example, that his personal car, a $70,000 Range

Rover, was used 100% for business purposes. (Shea PSR ¶ 62). And Shea fraudulently obtained

an Economic Injury Disaster Loan from the SBA on behalf of his shell company, RPMM. He

submitted an application that fraudulently overstated RPMM’s revenue and cost of goods sold—

which are financial metrics on which the SBA relies in determining whether and in what amounts

to issue those COVID-19 relief loans—and when he received an SBA loan of almost $60,000, he

immediately transferred it to his personal bank account and spent it on personal expenses. (Shea

PSR ¶¶ 60-61).

       The seriousness of Shea’s participation in the fraud scheme is matched by the seriousness

of his obstruction of the investigation into it. Upon learning of a grand jury subpoena, Shea and

his co-defendants exchanged a flurry of calls about the investigation. And immediately after, Shea

and Kolfage tried to paper over their wrongdoing. They backdated documents to try to explain

earlier kickbacks. (GX 128A, 153). Shea and Kolfage’s falsification of documents was a brazen

attempt to evade detection for the fraud scheme even as they knew that law enforcement were

scrutinizing their conduct.

       Second, the needs for specific and general deterrence necessitate a substantial term of

incarceration. With respect to specific deterrence, it is notable that Shea continues to minimize and



                                                 38
        Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 41 of 45




deflect responsibility for his criminal conduct. For example, Shea, like Kolfage, suggests that the

fundraising campaign was started with good intentions and went awry. Not so. As described above

and contrary to what Shea states in his sentencing submission (Shea Mem. 3-4; Shea Mem. Ex. A

at 1), it is absolutely clear that Shea and Kolfage knew that any funds raised could not simply be

handed over to the United States government even before they launched a GoFundMe campaign

promising to do exactly that. (GX 1). As Government Exhibit 1 makes clear, Kolfage, Shea, and

Amanda Shea were communicating about the fundraising idea in mid-December before its launch,

and Shea already understood that the funds could not go to the United States Government. After

Kolfage texted Shea and Amanda Shea, “Let’s create a gofundme to pay for the trump wall…And

if trump doesn’t take the money then we donate it to our organization,” Shea almost immediately

replied “Lol!!! That’s so perfect!” He then explained to his wife, in the same text chain, “Amanda-

trump can’t take the money…so we could transfer it.” (GX 1). Within a week, their GoFundMe

page, “We The People Will Fund The Wall,” was launched. (GX 301). In his sentencing letter,

Shea claims that the “overwhelming outpouring of donations” caused him to “have a vision of

being able to make [a] great deal of money which completely clouded my judgment as the months

went on.” (Shea Mem. Ex. A at 1-2). Shea’s suggestion that the idea of profiting off their

fundraising campaign arose, over months, because of its success is refuted by his messages at its

very inception. As Shea well knew, the campaign was launched as a way to profit.

       Furthermore, Shea’s claim that he “misinterpreted the importance” of Kolfage’s promise

not to receive money is further undercut by his contemporaneous statements, which show that he

understood they were telling significant and lucrative lies. In Government Exhibit 23, an exchange

between Kolfage, Shea, and his wife related to the merchandise website, Shea asked Kolfage about

how prominently they should display the claim: “Hey for the build the wall store, do we want this



                                                39
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 42 of 45




statement at the top? […] all proceeds go directly to building the wall.” When Kolfage responded,

“I'll ask. I think since it can’t be proven it’s ok,” Shea added: “K. I just don’t want to go to jail.”

(GX 23). Despite Shea’s revisionist interpretation of this exchange in his submission, that he was

“concerned about making a false representation,” the actual sequence of messages makes clear that

Shea’s concern was not truthfulness but being found out. In response to Shea’s question about

including the text, Kolfage reassured him that it could not be “proven”—not that it was true. Shea’s

response did not question Kolfage’s answer, he was evidently satisfied by this explanation because

he did not “want to go to jail.” Shea’s claim that he was, in effect, raising an alarm is simply

inconsistent with the basic text of their messages.

       In addition, Shea claims that he did not know about “the secret salary agreement” and he

“only learned of it after his arrest.” (Shea Mem. 4). Shea admits only that he knew Kolfage was

taking payments and he assisted Kolfage in doing so. (Shea Mem. Ex. A at 2). The defendant does

not grapple with the fact that he assisted Kolfage in receiving the very monthly salary payments

that had been agreed upon. His denial is particularly glaring as he offers no explanation for how

he knew to pay Kolfage kickbacks in the same amount and on the same schedule that was

negotiated and discussed. As described above, Shea’s claim that he has now accepted

responsibility falls flat. The defendant’s efforts to rewrite his communications, to make his

involvement seem accidental and trivial, raise a real concern about his remorse and his willingness

to take responsibility for his own conduct, both of which are relevant in evaluating whether he will

return to crime.

       There is also a particular need for general deterrence on the facts of this case. This was a

sophisticated fraud scheme that was difficult to detect, where general deterrence is particularly

important. But in addition, the defendants, including Shea, took steps to obstruct the investigation



                                                  40
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 43 of 45




and falsify documents upon learning of the investigation. A substantial sentence is necessary to

send a message to wrongdoers that obstruction of ongoing investigations will lead to serious

consequences.

       Third, the need to avoid unwanted sentencing disparities suggests that a below-Guidelines

sentence would be appropriate. The Government is mindful of how the Guidelines ranges for

Shea’s co-defendants comport with their relative culpability and differing circumstances. With

respect to the offense conduct, Shea was an active and enthusiastic participant in the scheme who

received substantial personal benefits, but he was not its organizer or public face. He certainly was

less critical to the scheme than either Badolato or Kolfage. At the same time, Shea’s co-defendants

present multiple significant mitigating factors that Shea does not. Kolfage suffered grievous

injuries while serving in this country’s military. Badolato reportedly suffered a recent stroke. And

both co-defendants accepted responsibility before trial and pled guilty. Shea’s refusal to accept

responsibility through two trials—which continues even now, as he minimizes his involvement

while half-heartedly accepting responsibility in the hopes of receiving leniency at sentencing—is

a meaningful distinction that can and should be considered at sentencing. All the same, given the

applicable Guidelines ranges of Shea’s co-defendants and Shea’s relative culpability, a downward

variance from the Guidelines range of 108 to 135 months is appropriate.

       However, a substantial sentence of incarceration is still necessary for all the reasons

discussed above. Shea’s request for a sentence of 24 months’ imprisonment is wholly inadequate.

The basis for his request is his claim that the Government’s “original plea offer[]…placed his

sentencing range at a level of about 24 months.” (Shea Mem. 20). The Government in fact offered

Shea a plea, in March 2022, that would have carried Guidelines of 27 to 33 months. But Shea

should not receive the benefit of a plea offer that he rejected and that was made before he twice



                                                 41
         Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 44 of 45




put the Government to its burden at trial. Further, the original plea offer reflected the Government’s

view of facts at the time, which changed as the Government continued to investigate up to and

through both trials. The plea offer included a mitigating role adjustment that, having continued to

develop its evidence against Shea after he rejected the offer, the Government now recognizes is

inappropriate. (Probation likewise does not recommend a mitigating role adjustment, and even

Shea himself agrees that not including that adjustment is correct (Shea Mem. 22 (stating that the

Probation Office’s Guidelines calculation is “correct”)).) The Government’s pre-trial plea offer

also did not include an enhancement for obstruction of justice, the facts of which, as discussed

above, were not fully developed at that time. And, of course, the plea offer assumed Shea would

be accepting responsibility, which he did not. The sentence that Shea is seeking cannot be

reconciled with the facts before the Court at his post-trial sentencing.

       Even the Probation Office’s recommendation of 54 months—50% of the bottom of the

Guidelines range—fails to fully account for the seriousness of the conduct, the defendant’s refusal

to accept responsibility, his continued minimization of his offense conduct, and the particular need

for general deterrence on these facts.

       Shea committed serious crimes motivated by greed, then again broke the law as he took

steps to obstruct the Government’s investigation of his misconduct. While the Government agrees

that his culpability, relative to his co-defendants, is a basis for a meaningful downward variance,

Shea’s serious crimes deserve serious sanction. A sentence of 63 months in prison is significantly

below the Guidelines, and is below the sentence the Government would likely seek for Kolfage or

Badolato if their personal circumstances or their lack of acceptance of responsibility were similar

to Shea’s. A sentence of 63 months’ imprisonment would be sufficient but not greater than

necessary under Section 3553(a).



                                                 42
          Case 1:20-cr-00412-AT Document 381 Filed 04/19/23 Page 45 of 45




                                      CONCLUSION

         For the reasons set forth above, the Court should impose sentences of 51 months’

imprisonment on Brian Kolfage, 41 months’ imprisonment on Andrew Badolato, and 63 months’

imprisonment on Timothy Shea.

Dated:         New York, New York
               April 19, 2023

                                          Respectfully submitted,

                                          DAMIAN WILLIAMS
                                          United States Attorney

                                    By:           /s/               .
                                          Mollie Bracewell
                                          Nicolas Roos
                                          Robert B. Sobelman
                                          Derek Wikstrom
                                          Assistant United States Attorneys
                                          (212) 637-2218 / 2421 / 2616 / 1085




                                            43
